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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


    STATE OF FLORIDA,

          Plaintiff,

    v.                                                 CASE NO. 8:21-cv-839-SDM-AAS

    XAVIER BECERRA, et al.,

          Defendants.
                                              /


                                           ORDER

          (a)    Referral to Mediation: This action is referred to mediation. Joseph

    H. Varner III, 100 North Tampa Street, Suite 4100, Tampa, FL 33602, (813)

    227-6703, is the mediator.

          (b)    Conduct of Mediation: The mediator must conduct the mediation in

    accord with this order and the Local Rules. Compliance with this order is not

    satisfied by any other attempt by the parties to resolve this matter through mediation

    or by another mechanism for dispute resolution.

          (c)    Scheduling Mediation: The parties must mediate no later than

    JUNE 1, 2021.

          (d)    Designation and Responsibility of Lead Counsel: James H. Percival is

    designated as lead counsel and must consult both the mediator and other counsel to

    coordinate the day and time of the mediation. Within TWO days after this order,
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    lead counsel must file a notice of mediation that states the agreed day and time of

    mediation. When the notice is filed, the agreed day for the mediation replaces the

    deadline in paragraph (c).

          (e)    Rules Governing the Mediation: In accord with Chapter Four of the

    Local Rules, the following requirements apply:

                 (1)    Case Summaries: At least three business days before the scheduled
                        mediation, each party must deliver to the mediator and to
                        opposing counsel a brief written summary of the facts and issues
                        of the action. The mediator and the parties must treat each
                        summary as a confidential communication and must not disclose
                        the summary or the summary’s content.

                 (2)    Authority and Duties of the Mediator. The mediator may confer
                        privately with any counsel, an individual party, a corporate or
                        municipal representative, or a claims professional for any proper
                        purpose in the mediator’s discretion. The mediation must
                        continue until adjourned by the mediator. No participant may
                        compel the early conclusion of a mediation because of travel or
                        another engagement. The mediator is required to report within
                        seven days after mediation the result of the mediation and
                        whether all required persons attended. Only the mediator may
                        declare an impasse or end the mediation. To co-ordinate the
                        mediation, the mediator may set an abbreviated scheduling
                        conference before the mediation.

                 (3)    Attendance: Absent leave of court, which is granted only in an
                        extraordinary circumstance, each attorney acting as lead
                        counsel, each party (or the designated representative with full
                        authority to settle), and any necessary insurance carrier
                        representative must attend the mediation in person. Any
                        unexcused absence or departure from mediation is sanctionable.




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                 (4)   Structure: In a complex or protracted case, or a case with many
                       parties, the mediator is authorized to conduct the mediation in
                       sequential sessions with fewer than all the parties present.

                 (5)   Confidentiality: The substance of the mediation is confidential
                       and no party, lawyer, or other participant is bound by, may
                       record, or without the judge’s approval, may disclose any
                       event, including any statement confirming or denying a fact —
                       except settlement — that occurs during the mediation.


          (f)    Compensation of the Mediator: Under the Local Rules, the parties

    must compensate the mediator at the mediator’s prevailing hourly rate, which,

    unless otherwise agreed by counsel, the parties must bear equally and pay

    immediately after the mediation. When moving to tax other costs, the prevailing

    party may move to tax the mediator’s compensation as a cost. The parties must

    comply with any reasonable cancellation policy established by the mediator.

          (g)    Objections: A party waives as to this order any objection not

    asserted within ten days and in writing.

     ORDERED in Tampa, Florida, on May 18, 2021.




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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


STATE OF FLORIDA,

      Plaintiff,

v.                                                  CASE NO. 8:21-cv-839-SDM-AAS

XAVIER BECERRA, et al.,

      Defendants.
                                             /


                                  MEDIATION REPORT

      In accord with the mediation order, a mediation occurred on

                                  , 20   .

      (a)    The following individuals, parties, corporate representatives, and claims

professionals attended and participated in the mediation, and each possessed the

requisite settlement authority:

             All individual parties and their respective trial counsel.

             Designated corporate representatives.

             Required claims professionals.


      (b)    The following individuals, parties, corporate representatives, and claims

professionals failed to appear or participate:
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      (c)   The result of the mediation:

            The action completely settled. Lead counsel must notify the court of
            settlement within ten days of the mediation by filing a notice or
            memorandum of agreement signed by the parties and the mediator.

            Comments:




            The action partially resolved. Lead counsel must file within ten days a
            joint stipulation resolving the settled claims. The following issues
            remain:




            Comments:




            The action neither settled nor failed to settle.

            Comments:




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            The parties failed to settle.

            Comments:




      Reported on                           , 20       , in                   , Florida.




                                                   Signature of Mediator


                                                   Name (PRINTED) of Mediator




                                                   Mediator’s Mailing Address and
                                                   Telephone Number


Cc: Counsel of Record and
    Unrepresented Parties




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